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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  GENOVA BURNS LLC                                  BROWN RUDNICK LLP
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                                                               Chapter 11

  In re:                                                      Case No. 23-12825 (MBK)

  LTL MANAGEMENT LLC,1                                        Honorable Michael B. Kaplan

                                     Debtor.



  LTL MANAGEMENT LLC,                                           Adv. Pro. No. 23-01092 (MBK)
                                     Plaintiff,

            v.


  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT
  and JOHN AND JANE
  DOES 1-1000,

                                     Defendants.



                    NOTICE OF APPEAL AND STATEMENT OF ELECTION

           Part 1: Identify the Appellant(s):

           1. Names(s) of appellant(s): The Official Committee of Talc Claimants.

           2. Position of appellant(s) in the bankruptcy case that is the subject of this appeal:

 Appellant is an official committee of tort claimants in the underlying bankruptcy case. Appellant

 is also an intervenor in Adversary Case No. 23-01092 (MBK).




 1 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
   Street, New Brunswick, New Jersey 08933.



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        Part 2: Identify the subject of this appeal:

        1. Describe the judgment, order, or decree appealed from: Appellant, pursuant to 28

 U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001(a), hereby gives notice of appeal

 to the United States District Court for the District of New Jersey from each and every part of the

 Order of the United States Bankruptcy Court for the District of New Jersey filed on July 14, 2023,

 in which the bankruptcy court stayed and enjoined the Defendants listed in Appendix A to the

 Complaint from commencing or conducting any trial or appeal of any Debtor Talc Claim through

 August 22, 2023 against Janssen Pharmaceuticals Inc., Kenvue Inc., and any of the Protected

 Parties identified in Appendix B to the Complaint. See Order (Adv. Dkt. No. 203) (annexed hereto,

 as Exhibit “A”).

        2. State the date on which the judgment, order, or decree was entered: The Order

 (Exhibit A) was entered on July 14, 2023.

        Part 3: Identify the other parties to the appeal:

        List the names of all parties to the judgment, order, or decree appealed from and the names,

 addresses, and telephone numbers of their attorneys:

                  Party                                           Attorneys
  Appellant: the Official Committee of       GENOVA BURNS LLC
  Talc Claimants                             Daniel M. Stolz, Esq.
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                                             BROWN RUDNICK LLP
                                             David J. Molton, Esq.
                                             Jeffrey L. Jonas, Esq.
                                             Michael S. Winograd, Esq.
                                             Eric R. Goodman, Esq.



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                                     Claimants




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  Appellee - Plaintiff: LTL Management,     WOLLMUTH MAHER & DEUTSCH LLP
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                                            Dallas, TX 75201
                                            Tel: (214) 220-3939
                                            Fax: (214) 969-5100
  Defendants (see Exhibit B)                See Exhibit B


  Interested party: the Protected Parties   See Exhibit C
  (see Exhibit C)
  Interested party/objector: Arnold &       PACHULSKI STANG ZIEHL & JONES LLP
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  Interested party/objector: Paul Crouch,   LEVY KONIGSBERG, LLP
  Individually and as Executor and as       Jerome H. Block
  Executor Ad Prosequendum of the           jblock@levylaw.com
  Estate of Cynthia Lorraine Crouch         605 Third Avenue, 33rd FL
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  Interested party/objector: Travelers       GIMIGLIANO MAURIELLO & MALONEY
  Casualty and Surety Company (f/k/a         A Professional Association
  The Aetna Casualty and Surety              Stephen V. Gimigliano
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                                             Tel: (212) 455-2000
  Interested party/objector: United States   THE OFFICE OF THE UNITED STATES
  Trustee                                    TRUSTEE, ANDREW R. VARA,
                                             UNITED STATES TRUSTEE, REGIONS 3 & 9
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  Interested party/objector:                 MAUNE RAICHLE HARTLEY FRENCH &
  Mesothelioma Plaintiff Katherine           MUDD, LLC
  Tollefson and Certain Mesothelioma         Clayton L. Thompson, Esq.
  Plaintiffs                                 cthompson@mrhfmlaw.com
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                                         Tel: (800) 358-5922



 Part 4: Not Applicable (No BAP in this District)

 Part 5: Signature

  DATED this 21st day of July, 2023.
                                                  Respectfully submitted,

                                                  GENOVA BURNS, LLC


                                                       /s/ Daniel M. Stolz
                                                  By:_________________________
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                                                  Talc Claimants




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